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   AO 440 (Rev. 06/12) Summons in a Civil Action


                                                UNITED STATES DISTRICT COURT
                                                                                          for the
                                                                  Western District
                                                                  __________       of Pennsylvania
                                                                              District of __________

                               Gary Hall,                                                    )
                      Individually and on Behalf of                                          )
                      All Others Similarly Situated,                                         )
                                                                                             )
                                     Plaintiff(s)                                            )
                                                                                             )
                                          v.                                                           Civil Action No. 2:20-cv-1204
                                                                                             )
                    TeleTracking Technologies, Inc.                                          )
                                                                                             )
                                                                                             )
                                                                                             )
                                    Defendant(s)                                             )

                                                                  SUMMONS IN A CIVIL ACTION

   To: (Defendant’s name and address)
                                                  TeleTracking Technologies, Inc.
                                                  Times Building
                                                  336 4th Ave.
                                                  Pittsburgh, PA 15222




               A lawsuit has been filed against you.

            Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
   are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
   P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
   the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
   whose name and address are:
                                                  Edgar Snyder & Associates LLC
                                                  Sammy Sugiura, Esq.
                                                  US Steel Tower, 10th Floor
                                                  600 Grant Street
                                                  Pittsburgh, PA 15219


          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
   You also must file your answer or motion with the court.


                                                                                                           &/(5.2)&2857
                                                                                                            CLERK OF COURT


 Date:
08/13/2020                                                                                                  Joseph Ventresca
                                                                                                                    Signature of Clerk or Deputy Clerk
'DWH6LJQDWXUHRI&OHUNRU'HSXW\&OHUN
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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
